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                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO



UNITED STATES OF AMERICA,

               Plaintiff,                           Case No. 1:22-CR-00056-SWS


       V.



JOSEPH ALAN HOADLEY,                                ORDER DENYING DEFENDANT'S
                                                    RENEWED MOTION FOR
               Defendant.                           JUDGMENT OF ACQUITTAL OR
                                                    NEW TRIAL



       This matter comes before the Court on the Defendant's Renewed Motion for Judgment of

Acquittal or in the Alternative, for New Trial(ECF 95). The Government responded(ECF 108),

and Mr. Hoadley replied (ECF 111). Having considered the parties' arguments, reviewed the

record herein, and being otherwise fully advised, the Court denies the motion.

                                       BACKGROUND


       In a second superseding indictment, a grand jury indicted Mr. Hoadley, a former lieutenant

with the Caldwell Police Department(CPD), on one count of willfully depriving another person

of their rights under color of law (Count 1), one count of falsifying records in a federal

investigation (Count 2), one count of witness tampering (Count 3), and one count of evidence

tampering(Count 4). (ECF 29.)

Counts 1 and 2


       The first two charges were based around an event that occurred during the afternoon of

March 30, 2017, and involved the arrest of B.H. (See Trial Ex. 1001 (Officer Amber Walker's

bodycam video ofthe incident).) Emergency dispatch received a 911 hang-up/disconnect call from




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